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WESTERN DIVISION
UNITED STATES OF AMERICA *
*
vs. *
*
RAYMOND K. MCKEE *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On August 12, 2005, Raymond K. McKee appeared before me on a charge of violation of
the terms and conditions of his supervised release in this matter. The defendant had previously been
advised of his rights under Fed.R.Crim.P. 5 and 32.1(a), and counsel was appointed.

At this hearing, the Court, after hearing proof, concluded that probable cause was established
that the defendant had violated the terms and conditions of his supervised release.

Accordingly, defendant Raymond K. McKee is held to a final revocation hearing before
United States District Judge Bernice B. Donald It is presumed that the District Judge will set this
matter for a revocation hearing pursuant to Fed.R.Crim.P. 32. l (b),(c), and will see that appropriate
notices are given.

The defendant Was remanded to the custody of the United Statcs Marshals.

IT ls so oRDERED this 12th day ofAugusc, 2::;}9'9!4)_/

TU`M. PHAM"
UNITED sTATEs MAGISTRATE IUDGE

Thls document entered on the docket sheet in compliance
Wlth Ru|e 55 ami/or 32(b) FHCrP on w ’/ ' -

 

 

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This notice confirms a copy of the document docketed as number 409 in
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Honorable Bernice Donald
US DISTRICT COURT

